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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                           Alexandria Division




B.D., et al,,

      Plaintiffs,



V.                                   Civil Action No. l:18-cv-1425



FAIRFAX COUNTY SCHOOL BOARD,


      Defendant.




                           MEMORANDUM OPINION


      This matter comes before the Court on Defendant's Motion to


Dismiss (Dkt. 9) Counts II-V of Plaintiffs' Complaint pursuant

to Federal Rule of Civil Procedure 12(b)(6).

      Plaintiffs are B.D., an eighteen-year-old twelfth-grade

student at George C, Marshall High School (MHS), and his

parents. B.D. has Down syndrome and has been identified as

intellectually disabled. B.D. has received special education

services from Fairfax County Public Schools (FCPS) since he was

in'the second grade. All of these services have been pursuant to

Individualized Education' Plans (lEP). B.D.'s parents have worked

with educators throughout this time to create lEPs with rigorous

goals, the ultimate goal being that B.D. would graduate from

high school with a Standard Diploma, as opposed to an
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